        3:21-cr-30076-SEM-KLM    # 49   Filed: 01/12/24   Page 1 of 7




                 UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS
                     SPRINGFIELD DIVISION

DANIEL KRAMER,                          )
                                        )
        Petitioner-Defendant,           )
                                        )
        v.                              )      Case No. 21-cr-30076
                                        )               24-cv-3003
                                        )
UNITED STATES OF AMERICA,               )
                                        )
        Respondent-Plaintiff.           )


                        ORDER AND OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Petitioner-Defendant Daniel Kramer’s

Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255 (d/e 48). Kramer argues he received ineffective

assistance of counsel at sentencing. This matter is now before the

Court for preliminary review pursuant to 28 U.S.C. § 2243 and Rule

4 of the Rules Governing Section 2255 Proceedings for the United

States District Courts. As explained below, because it plainly

appears from the Petition that the Petitioner is not entitled to relief,

the Court SUMMARILY DISMISSES Petitioner’s § 2255 Motion (d/e

48) and DECLINES to issue a certificate of appealability.

                                Page 1 of 7
        3:21-cr-30076-SEM-KLM    # 49   Filed: 01/12/24   Page 2 of 7




                         I.     BACKGROUND

     On December 7, 2021, Kramer was charged in a three count

indictment with: Possession of 50 Grams or More of Actual

Methamphetamine with Intent to Distribute, in violation of 21

U.S.C. §§ 841(a)(1) and (b)(1)(A) (Count One); Possession of a

Firearm During and in Furtherance of a Drug Trafficking Crime, in

violation of 18 U.S.C. §§ 924(c)(1)(A) and (c)(1)(A)(i) (Count Two); and

Unlawful Possession of a Firearm by a Convicted Felon, in violation

of 18 U.S.C. §§ 922(g)(1), 924(a)(2) (Count Three). Indictment, Doc.

1. Kramer entered an open guilty plea on June 16, 2022, to all

three counts. June 16, 2022 Minute Entry.

     The statutory imprisonment ranges for the three offenses were:

a mandatory minimum of ten years imprisonment and a maximum

of life imprisonment on Count One, 21 U.S.C. § 841(b)(1)(A), a

mandatory five year sentence to be served consecutive to any other

counts on Count Two, 18 U.S.C. §§ 924(c)(1)(A)(i), and a maximum

term of ten years of imprisonment on Count Three, 18 U.S.C.

§§ 922(g)(1). Accordingly, pursuant to statute, Kramer’s total

mandatory minimum sentence for his combined offenses was fifteen

years of imprisonment.

                                Page 2 of 7
         3:21-cr-30076-SEM-KLM     # 49    Filed: 01/12/24   Page 3 of 7




      On October 18, 2022, the Court sentenced Kramer to a total of

180 months’ imprisonment (or fifteen years), consisting of 120

months on Counts One and Three, and 60 months on Count Two to

be served consecutively. Amended Judgment, Doc. 42. Kramer did

not file an appeal.

      On July 10, 2023, Kramer filed a Motion to Reopen Case, Doc.

44, asking the Court to “disagree with the actual methamphetamine

Guidelines on policy grounds and sentence him to the statutory

minimum sentence.” The Court informed Kramer that he did

receive the statutory minimum sentence, but asked whether he

wanted the Court to construe his motion as a habeas corpus

motion. July 14, 2023 Text Order. Kramer did not respond, and the

Court later denied the motion. See November 21, 2023 Text Order.

      On January 3, 2024, Kramer filed this Motion to Vacate under

28 U.S.C. § 2255, Doc. 48.1 He claims his attorney was ineffective




1 The Court also notes that this Motion is untimely under 28 U.S.C. § 2255(f).

However, the time bar is “not a jurisdictional requirement, but rather an
affirmative defense” and courts “are under no obligation to raise the time bar
sua sponte.” Anderson v. United States, 981 F.3d 565, 571 (7th Cir. 2020)
(internal quotations omitted). The Court does not find it appropriate to raise
the time bar sua sponte without giving Petitioner an opportunity to respond.
And, in this case, the Court finds Petitioner’s claims meritless regardless.

                                 Page 3 of 7
        3:21-cr-30076-SEM-KLM    # 49   Filed: 01/12/24   Page 4 of 7




for not arguing that the Court should disagree with the actual

methamphetamine Guidelines on policy grounds. He also appears

to be seeking compassionate release. This Order now follows.

                        II.     LEGAL STANDARD

     Section 2255, “the federal prisoner’s substitute for habeas

corpus,” Brown v. Rios, 696 F.3d 638, 640 (7th Cir. 2012), permits

a prisoner incarcerated pursuant to an Act of Congress to request

that his sentence be vacated, set aside, or corrected if “the sentence

was imposed in violation of the Constitution or laws of the United

States, or . . . the court was without jurisdiction to impose such

sentence, or . . . the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral attack.” 28

U.S.C. § 2255(a). Relief under § 2255 is appropriate for “an error of

law that is jurisdictional, constitutional, or constitutes a

fundamental defect which inherently results in a complete

miscarriage of justice.” Harris v. United States, 366 F.3d 593, 594

(7th Cir. 2004) (quotation marks omitted).

     Kramer’s motion argues that he received ineffective assistance

of counsel. The Sixth Amendment guarantees criminal defendants

effective assistance of counsel. Strickland v. Washington, 466 U.S.

                                Page 4 of 7
         3:21-cr-30076-SEM-KLM     # 49   Filed: 01/12/24   Page 5 of 7




668, 684-86 (1984). Under Strickland’s two-part test, a petitioner

must show both that his attorney’s performance was deficient and

that he was prejudiced as a result. Vinyard v. United States, 804

F.3d 1218, 1225 (7th Cir. 2015). Courts, however, must “indulge a

strong presumption that counsel’s conduct falls within the wide

range of reasonable professional assistance.” Strickland, 466 U.S.

at 690. A petitioner must also prove that he has been prejudiced by

his counsel’s representation by showing “a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694. Absent a

sufficient showing of both cause and prejudice, a petitioner’s claim

must fail. United States v. Delgado, 936 F.2d 303, 311 (7th Cir.

1991).

                            III.    DISCUSSION

     Kramer claims that his attorney should have argued for a

deviation from the guidelines for policy reasons. Even if Kramer

could show that his counsel’s arguments in mitigation at

sentencing were deficient, he did not suffer any prejudice. Kramer

was sentenced to the mandatory minimum sentence available to

him pursuant to statute: a mandatory minimum of ten years

                                 Page 5 of 7
          3:21-cr-30076-SEM-KLM    # 49   Filed: 01/12/24   Page 6 of 7




imprisonment on Count One, see 21 U.S.C. § 841 (b)(1)(A), and a

mandatory consecutive five years of imprisonment on Count Two,

see 18 U.S.C. § 924(c)(1)(A)(i), for a total of fifteen years

imprisonment. Nothing Kramer’s attorney could have argued would

have given the Court discretion to impose a lower sentence.

Accordingly, Kramer’s ineffective counsel claim must be denied.

     The Court also notes that Kramer states he is seeking

compassionate release. Kramer is informed that compassionate

release is a separate mechanism and cannot be addressed within

the bounds of a § 2255 motion. If Petitioner wishes to file a

compassionate release motion, he must do so pursuant to 18 U.S.C.

§ 3582.

                IV. CERTIFICATE OF APPEALABILITY

     If Kramer seeks to appeal this decision, he must first obtain a

certificate of appealability. See 28 U.S.C. § 2253(c) (providing that

an appeal may not be taken to the court of appeals from the final

order in a § 2255 proceeding unless a circuit justice or judge issues

a certificate of appealability). A certificate of appealability may

issue only if a petitioner has made a “substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Such a

                                  Page 6 of 7
         3:21-cr-30076-SEM-KLM    # 49     Filed: 01/12/24   Page 7 of 7




showing is made if “reasonable jurists could debate whether (or, for

that matter, agree that) the petition should have been resolved in a

different manner.” Slack v. McDaniel, 529 U.S. 473, 484, 120 S.

Ct. 1595 (2000). Here, the Court does not find that reasonable

jurists could find that Kramer’s claim of ineffective assistance of

counsel at sentencing has merit. Accordingly, the Court DECLINES

to issue a certificate of appealability.

                           V. CONCLUSION

     For the reasons stated above, the Court SUMMARILY

DISMISSES Petitioner Daniel Kramer’s Motion to Vacate, Set Aside,

or Correct Sentence Under 28 U.S.C. § 2255 (d/e 48). The Court

DECLINES to issue a Certificate of Appealability. The Clerk is

DIRECTED to prepare the Judgment and close the accompanying

administrative case 24-cv-3003.

     Signed on this 12th day of January 2024.

                                   /s/ Sue E. Myerscough
                                   Sue E. Myerscough
                                   United States District Judge




                                 Page 7 of 7
